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                                                                                    n IL
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division
                                                                               f    1112 7 2017
                                                                               CLERK, U.S. DISTRICT COURT
                                                                                      RICHMOND VA

UNITED STATES OF AMERICA

v.                                                               Criminal No. 3:11CR212

VANCE HAMM

                                   MEMORANDUM OPINION

        Vance Hamm,     a    federal inmate proceeding pro se,                      submitted

this motion under 28               u. s. c.   §       2255    to vacate,   set aside,        or

correct his sentence           ( "§ 2255 Motion, 11              ECF No.   116) .      In his

§    2255 Motion, Hamm raises the following claims for relief:

        Claim One:           "Mr. Hamm's prior convictions do not qualify
                             as    predicates   for     career   of fender
                             enhancement and he should be remanded. 11
                             (Id. at 4.) 1

        Claim Two:           ''Court should not   enforce an appellate
                             waiver against Mr. Hamm and should follow
                             the bar concluding it is a bad contract. 11
                             (Id. at 5.)

The     Government     has    responded           that       Hamm's   claims   lack    merit.

(ECF No. 125.)         Hamm has filed a Reply.                   (ECF No. 129.)       For the

reasons set forth below, Hamm's                   §   2255 Motion will be denied.


                              I.      PROCEDURAL HISTORY

        On December 13 ,       2O11,      a grand jury charged Hamm with one

count       of   conspiracy   to      commit          robbery affecting commerce,            in

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       The Court utilizes the pagination assigned to Hamm's
submissions by the CM/ECF docketing system. The Court corrects
the capitalization and omits the emphasis in quotations from
Hamm's submissions.
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violation of 18        u.s.c.        §    195l(a).               (Superseding Indictment 1-5,

ECF No.       28.)     On January 18,                        2012,   a     grand       jury returned a

Second     Superseding       Indictment,                     again       charging           Hamm     with      one

count    of    conspiracy       to       commit              robbery affecting                commerce,         in

violation        of    18    U.S. C.              §     1951 (a) .               (Second       Superseding

Indictment 1-5,         ECF No.          39.)           On March 12,                 2012,    Hamm entered

into a Plea Agreement and pled guilty to Count One of the Second

Superseding Indictment.                  (Plea Agreement~ l, ECF No. 56.)

        Prior to sentencing,                  a       Probation Officer determined that

Hamm qualified for the career offender enhancement, stating:

             The    defendant   qualifies   for    a   sentence
        enhancement under the Career Of fender section, as
        defined in Chapter 4, Part B, of the Sentencing
        Guidelines.   The defendant was at least 18 years old
        at the time he committed the instant offense; the
        instant offense of conviction is a felony that is a
        crime of violence; and, the defendant has at least two
        prior felony convictions for a crime of violence.

(Pre-Sentence Investigation Report                               ( "PSR")        ~    59,    ECF No.          65.)

Specifically,         Hamm   was         previously              convicted            of     the     following

crimes of violence in North Carolina:                                    (l)   conspiracy to commit

common     law    robbery     (id.        ~           25);     (2)       common       law     robbery         (id.

, 26); and,       (3) conspiracy to commit the felony of discharging a

firearm into an occupied dwelling {id.                               ~    28).

        On July 3,      2012,        the Court entered judgment against Hamm

and sentenced him to 188 months of imprisonment.                                                   (J.   2,    ECF

No. 89.)       On motion by the Government, the Court also dismissed



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the Superseding Indictment against Hamm.                          (Id. at l . )       Hamm did

not appeal.


                         II.      CAREER OFFENDER ENHANCEMENT

       In Claim One,            Hamm asserts that his "prior convictions do

not qualify as predicates for career of fender enhancement and he

should      be    remanded. "          (§    2255    Mot.   4.)       Specifically,        Hamm

contends that the Supreme Court's recent decision in Johnson v.

United      States,       135     s.   Ct.    2551      {2015),      renders        his   career

offender enhancement unconstitutional.                        (Br.    Supp.     §    2255 Mot.

2, ECF No. 118.)

       A.        Johnson And The Armed Career Criminal Act ("ACCA")

       As the Supreme Court has noted,

        [u] nder the [ACCA] of 1984, a defendant convicted of
       being a felon in possession of a firearm faces more
       severe punishment if he has three or more previous
       convictions for a "violent felony," a term defined to
       include    any  felony  that  ''involves conduct  that
       presents a serious potential risk of physical injury
       to another."

Johnson, 135        s.   Ct. at 2555 {quoting 18             u.s.c.     §    924{e} {2} {B}}.

This part of the definition of violent felony "ha[s]                                come to be

known as the Act's residual clause."                         Id.      The Johnson Court

held   "that       imposing       an   increased       sentence      under     the    residual

clause of        the     [ACCA]    violates         the Constitution's guarantee of

due process."          Id. at 2563.




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          B.       Sentencing Guidelines Regarding Career Offenders

          Hamm was not sentenced pursuant to the ACCA.                          Instead, Hamm

was       sentenced           as   a   career   of fender     under    the     United    States

Sentencing            Guidelines.          {J?SR   ~   59.)        Under      the   Sentencing

Guidelines,

          [a]  defendant is a career offender if          {1)  the
          defendant was at least eighteen years old at the time
          the   defendant  committed  the   instant   offense   of
          conviction; {2) the instant offense of conviction is a
          felony that is either a crime of violence or a
          controlled substance offense; and (3) the defendant
          has at least two prior felony convictions of either a
          crime of violence or a controlled substance offense.

United          States        Sentencing    Guidelines        Manual     §    4Bl.l(a)    {U.S.

Sentencing            Comm'n       2012)    {"USSG" ) .       At   the       time   of   Hamm's

sentencing, the Guidelines defined a "crime of violence" as:

          any offense under federal or state law, punishable by
          imprisonment for a term exceeding one year, that - -
                {l) has as an element the use, attempted
               use, or threatened use of physical force
               against the person of another; or
                (2) is burglary of a dwelling, arson, or
               extortion, involves use of explosives, or
               otherwise involves conduct that presents a
               serious potential risk of physical injury to
               another.

Id.   §       4Bl.2 (a) . 2


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        Effective August l,   2016,  the Sentencing Commission
amended the definition of "crime of violence" to eliminate the
phrase "or otherwise involves conduct that presents a serious
potential risk of physical injury to another, " otherwise known
as § 4Bl.2's residual clause.   See Hayes v. United States, Nos.
4:13CR70, 4:l6CV54, 2017 WL 976624, at *3 n.2 {E.D. Va. Mar. 13,
2017) (citing USSG Supp. to App. C, amend. 798 {Aug. l, 2016)).
To the extent that Hamm seeks relief under Amendment 798, a
request for relief pursuant to Amendments to the Sentencing
Guidelines is not cognizable under § 2255.  See United States v.
                                                   4
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       c.        Johnson Does Not Apply To Hamm's Sentence

       Hamm contends that under Johnson,                          his previous convictions

for conspiracy to commit common law robbery, common law robbery,

and conspiracy to commit                the       felony of discharging a                  firearm

into     an      occupied    dwelling         no       longer       qualify     as   predicate

offenses         for purposes of        §    4Bl. 2 (a) .           Recently,   however,       the

Supreme Court determined that its decision in Johnson does not

extend      to    the   Sentencing      Guidelines.                 See    Beckles   v.     United

States, 137 s. Ct 886, 890 (2017).                         The Beckles Court stated:

            Unlike the ACCA, however, the advisory Guidelines
       do not fix the permissible range of sentences.  To the
       contrary, they merely guide the exercise of a court's
       discretion in choosing an appropriate sentence within
       the statutory range.   Accordingly, the Guidelines are
       not subject to a vagueness challenge under the Due
       Process Clause.   The residual clause in § 4Bl.2(a) (2)
       therefore is not void for vagueness.

Id.    at     892.      Accordingly,        Hamm cannot             rely upon    the       Johnson

decision         to   challenge   the       use       of    these    prior    convictions       as

predicate         offenses     for      purposes             of      the    career        of fender

enhancement.




Jones, 143 F. App'x 526, 527 (4th Cir. 2005) (holding that the
district court erred in construing the petitioners' motions
under 18 U.S.C. § 3582(c) (2) for reductions in sentence based on
retroactive application of Amendment 591 as § 2255 motions) ;
United States v. Mines, No. 3:09CR106-HEH, 2015 WL 1349648, at
*1 (E.D. Va. Mar. 24, 2015) (citations omitted).    In any event,
Amendment 798 is not retroactively applicable.   United States v.
Johnson, 665 F. App'x 788, 793 (11th Cir. 2016); Hayes, 2017 WL
976624, at *3 n.2.
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          D.      Hamm's Guidelines Challenges Under Gardner And Parral-
                  Dominguez

          In     his     Reply,       Hamm    contends             that     in    United        States    v.

Gardner,          823    F.3d 793          (4th Cir.          2016),        and United States v.

Parral-Dominguez,               794    F.3d       440        (4th    Cir.        2015),     "the     Fourth

Circuit          found     that    the       common          law    robbery,        & conspiracy          to

commit         felony      of     discharging            a     firearm        into       a[n]      occupied

dwelling no longer qualify as crimes of violence" for purposes

of   §    4Bl. 2 (a) .      (Reply 6, ECF No. 129.)                        He argues that in light

of       these     decisions,         he     no     longer          qualifies        for     the    career

offender          enhancement.               (Id.        at        6-7.)          Hamm     provides      no

explanation as             to why he believes these cases                                invalidate his

career offender status under the Guidelines.                                        Nevertheless,        as

discussed below,             to the extent these cases have any application

to       Hamm's        sentence,      Hamm        cannot       pursue        these        challenges      on

collateral review.

                  1.      United States v. Gardner

          In Gardner,           the United States                   Court of        Appeals        for   the

Fourth Circuit held that "North Carolina common law robbery does

not qualify categorically as a 'violent felony' under the [force

clause of the] ACCA."                   823 F. 3d at 804. 3                 Although Hamm was not


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       Under the force clause of the ACCA, a violent felony
includes "any crime punishable by imprisonment for a term
exceeding one year           [that] has as an element the use,
attempted use, or threatened use of physical force against the
person of another."   18 U.S.C. § 924 (e) (2) (B) (i).  The force
clause contained in § 4Bl. 2 (a) (1) of the Guidelines tracks the
language of the force clause in the ACCA.    The record is silent
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sentenced pursuant to the ACCA, the Fourth Circuit's decision in

Gardner may arguably make prior convictions for conspiracy to

commit      common        law    robbery        and   common       law        robbery          no   longer

qualify          as    crimes      of     violence        under     the        force         clause     for

purposes of the career offender enhancement.                                   See United States

v. Carthorne, 726 F.3d 503, 511 n.6 (4th Cir. 2013}                                         ("We rely on

precedents addressing whether an offense is a crime of violence

under the Guidelines 'interchangeably with precedents evaluating

whether an offense               constitutes          a    "violent       felony"'             under    the

[ACCA),          as    the   two        terms   are       defined        in        a       'substantively

identical'            manner."     (quoting United States                     v.       King,    673    F. 3d

274, 279 n.3 (4th Cir. 2012}}).

          Even    if,    under      Gardner,      Hamm' s        prior    common             law robbery

convictions would no longer qualify as crimes of violence for

the       career       offender         enhancement,        Hamm     lacks             entitlement       to

relief here.             The Fourth Circuit has noted that "[t) he language

of    §   2255 makes clear that not every alleged sentencing error

can be corrected on collateral review.                              The Supreme Court has

instructed            that   only       those    errors      presenting                a     'fundamental

defect      which       inherently results                in a    complete miscarriage                   of

justice' are cognizable."                   United States v. Foote, 784 F.3d 931,


as to whether Hamm's convictions for conspiracy to commit common
law robbery and common law robbery qualified as predicate
offenses under the force clause of the Guidelines.   However, it
appears that Hamm is arguing that, based on Gardner, these prior
convictions can no longer count as predicate offenses under the
force clause for the career offender enhancement.
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932     (4th Cir.        2015)    (quoting Davis v.                 United States,                417 U.S.

333,    346    (1974)) .         A "career offender designation                           [is]      not a

fundamental          defect       that       inherently            results        in     a        complete

miscarriage         of    justice."          Id.       at     940;     see    United         States     v.

Newbold,      791 F. 3d 455,           459    (4th Cir.            2015}     (citing Foote,            784

F. 3d    at    932-33)          (noting      that       "a        mistaken        career          offender

designation is not cognizable on collateral review"}.                                             Instead,

"it     is    clear       that    'miscarriages              of      justice'       in       the     post-

conviction          context      are      grounded           in      the     notion          of     actual

innocence .                II
                                 Foote, 784 F.3d at 941.                     To the extent that

Hamm argues that he is actually innocent of the career off ender

enhancement,         "the Supreme Court                 [and the Fourth Circuit have]

yet to stretch the concept [of sentencing enhancement innocence]

to    non-capital         sentencing                         ,,      Id.      Accordingly,            Hamm

cannot pursue his challenge to his career off ender status under

Gardner on collateral review.

               2.        United States v. Parral-Dominguez

        In    Parral-Dominguez,              the       Fourth        Circuit       held       that     the

defendant's         prior       conviction,         under         North      Carolina         law,     for

discharging a firearm into a occupied building did not qualify

as a crime of violence that could serve as a basis for imposing

a 16-level sentencing enhancement under USSG                                  §   2Ll. 2 following

the defendant's conviction for illegal reentry after his removal

from the United States.                   794      F. 3d at 444-46.                Hamm fails           to


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explain why he believes Parral-Dominguez has any applicability

to his sentence as a career offender.

         Similar to              §   4Bl. 2 (a) ,     at the time of Hamm' s                 sentencing,

§    2Ll. 2 defined a crime of violence as,                               inter alia,         "any other

offense under federal, state or local law that has as an element

the     use,      attempted use,                 or   threatened use             of   physical      force

against the person of another."                               USSG    §   2Ll.2 cmt.         n.1(B) (iii)

(2012) .        Hamm apparently believes that under Parral-Dominguez,

his     prior       conviction             for    conspiracy         to   commit      the     felony   of

discharging              a       firearm     into      an    occupied       dwelling          no   longer

qualifies           as       a    predicate         offense    under       the    force       clause   of

§    4Bl. 2 (a) .            However,      the Fourth Circuit has concluded that a

conviction for this crime qualifies as a crime of violence under

§    4Bl. 2 (a)     because it "result [s]                   in 'serious potential risk of

physical injury to another.'"                               United States v.              Mason,   392 F.

App'x 171,           173          (4th Cir.         2010)     (quoting USSG           §    4Bl.2(a) (2)).

Thus,      Parral-Dominguez provides no relief to Hamm,                                     and even if

it did,        as noted supra,               Hamm cannot maintain this challenge to

his career offender status on collateral review.                                          See Foote, 784

F. 3d at 940.

         Because the Johnson decision provides no relief to Hamm,

and because Hamm cannot maintain his challenges to his career




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offender status under Gardner and Parral-Dominguez on collateral

review, Claim One will be dismissed. 4


                          III. APPELLATE WAIVER

     In    Claim   Two,   Hamm   alleges     that   the   Court   "should    not

enforce an appellate waiver against            [him] and should follow the

bar concluding it is a bad contract."                {§   2255 Mot.   5.)     He

contends   that    "the   National       Bar Association    and   courts    have

found that    [such]   waivers are in violation of ethics rules and

should not be enforced."         (Id.)    Hamm argues that

          [h]ere, counsel would have known, ahead of time,
     that the prosecutor intended to place a waiver into
     the plea agreement which would not only potentially
     limit the client's ability to correct errors on
     appeal, but such a situation creates a conflict of
     interest,   whereby  the  attorney  is   allowing  the
     insertion of text into the contract which works
     against the client, to that client's disadvantage, and
     protects the attorney against adverse actions, since
     most of the time these contracts are enforced against
     the defendants.
          Lawyers should not insert text which operates in
     this fashion against the client, particularly when
     that client may then file a habeas petition pursuant
     to Section 2255, and the attorney then files an
     affidavit in support of the government's request for
     dismissal based upon that waiver and plea agreement.

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        On April 13, 2017, the Court received a supplemental
memorandum from Hamm, in which he asserts that he no longer
qualifies as a career offender under the Fourth Circuit's recent
decision in United States v. Winston, 850 F. 3d 677 (4th Cir.
2017).   In Winston, the Fourth Circuit concluded that Virginia
common law robbery no longer "constitute [s] a violent felony
under the ACCA."   850 F. 3d at 679.  Hamm fails to explain how
Winston applies to his matter, as he was previously convicted of
common    law  robbery   in   North  Carolina,   not   Virginia.
Nevertheless,  even if Winston applies to Hamm's previous
convictions, he lacks entitlement to relief for the reasons
already stated by the Court. See Foote, 784 F.3d at 940.
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       Such an attorney is then acting in his own interests
       and the interests of the government in ensuring that
       the client does not succeed.

(Br. Supp.       §    2255 Mot. 15-16.)           The Court construes Claim Two to

assert that counsel was ineffective for advising Hamm to sign

the Plea Agreement that contained the appellate waiver because

Hamm believes the waiver foreclosed his ability to raise claims

of     ineffective            assistance        of      counsel         and      prosecutorial

misconduct.           (See id. at 16-21.)

       To    demonstrate             ineffective        assistance         of        counsel,     a

convicted            defendant         must      show         first,      that          counsel's

representation             was    deficient      and    second,        that      the    deficient

performance prejudiced the defense.                          Strickland v.            Washington,

466 U.S.     668,      687       (1984).    To satisfy the deficient performance

prong of Strickland,                the convicted defendant must overcome the

"'strong presumption'                that counsel's strategy and tactics fall

'within the wide range of reasonable professional assistance.'"

Burch v.     Corcoran,            273 F. 3d 577,       588    (4th Cir.        2001)     (quoting

Strickland, 466 U.S. at 689).                    The prejudice component requires

a    convicted        defendant        to     "show    that     there     is     a     reasonable

probability that,                but for counsel's unprofessional errors,                       the

result      of       the     proceeding        would    have      been        different.         A

reasonable probability is a probability sufficient to undermine

confidence in the outcome."                     Strickland,       466    u. S.       at 694.     In

analyzing ineffective assistance of counsel claims,                                    it is not


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necessary to determine whether counsel performed deficiently if

the claim is readily dismissed for lack of prejudice.                                            Id.    at

697.

        By signing the Plea Agreement, Hamm "knowingly waive[d]                                        the

right     to    appeal        the     conviction         and    any       sentence          within     the

statutory maximum described above                        (or the manner in which that

sentence was determined)                   on the grounds set forth in Title 18,

United         States         Code,        Section        3742        or         on        any      ground

whatsoever .                   ,,     (Plea Agreement           ~   6.)      This waiver in no

way    foreclosed        Hamm' s      ability       to    raise       claims          of    ineffective

assistance of counsel and prosecutorial misconduct.                                           Moreover,

Hamm' s appellate waiver has never been enforced against him in

any    way.       Because           Hamm    fails       to     demonstrate            deficiency       of

counsel or resulting prejudice, Claim Two will be dismissed.


                                       IV.     CONCLUSION

        For     the     foregoing          reasons,       Hamm's       §     2255          Motion     (ECF

No. 116)       will     be    denied.         The       action will          be       dismissed.        A

certificate of appealability will be denied.

        The    Clerk     is     directed      to    send a          copy of           the   Memorandum

Opinion to Hamm and counsel for the Government.

        It is so ORDERED.

                                                                           /s/
                                               Robert E. Payne
                                               senior United States District Judge

Richmond, Virginia
Date :   l4o-•
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